
The Supreme Court affirmed the judgment of the Common Pleas on May 26, 1884, in the following opinion by
Green, J.:
There is no question in these records between the plaintiff’s attorney and the defendants. The controversy is solely between the parties themselves. We agree with the learned court below in holding that there should be a demand made upon the defendant for the payment of the money due on the judgement before the defendant can be required to pay the attorney’s commissions stipulated for in the single bills. If such demand had been made, it is quite possible there would have been no occasion to nv’ke the services of an attorney necessary. As soon as the writs of Fi. Fa. were issued the defendants paid the money in full, and they testify that no demand was ever made upon them prior to the issuing of the writs. The plaintiff testifies that he wrote to James S. Marsh *138“in regard to the payment” after the notes became due, but does not say when he wrote, or whether he demanded that payment should be made, or whether his letters were properly mailed. The notes were dated February, 8, 1883, payable at thirty days after date. Judgments were entered on them on April 6, 1883, and execution issued the same day. In the absence of satisfactory evidence of a demand for payment before entering the judgments and issuing the executions, we think the necessity of resorting to the services of an attorney for collecting the money does not appear, and without proof of such necessity the defendants ought not to be subjected to the payment of the commissions. There is no objection to such a stipulation in an obligation for the payment of the money, but it should not be abused.
The judgments are affirmed.
